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               IN THE UNITED STATES DISTRICT COURT FOR THE
             NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

BRADLEY J. SCHAUFENBUEL; et al.,                 )
                                                 )
                     Plaintiffs,                 )
                                                 )   Case No. 09-CV-1221
v.                                               )
                                                 )
INVESTFORCLOSURES FINANCIAL,                     )   Judge Leinenweber
L.L.C.; et al.,                                  )
                                                 )   Magistrate Judge Nolan
                                                 )
                     Defendants.                 )

           MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
      AMENDED SECOND MOTION FOR TEMPORARY RESTRAINING ORDER

        NOW COME Plaintiffs, by and through their attorneys Thurston Law Offices,

P.C. and Law Offices of Joel M Weiner, LLC, and hereby respectfully submit this

Memorandum of Law in Support of their Amended Second Motion for Temporary

Restraining Order against Certain Defendants.

Basis of Preliminary Relief / TRO

        Temporary restraining orders and their companion preliminary injunctions

have their basis in the equitable powers of the Court. Such has been codified in

Rule 65: “The court may issue a temporary restraining order without written or oral

notice to the adverse party or its attorney only if: (A) specific facts in an affidavit or

a verified complaint clearly show that immediate and irreparable injury, loss, or

damage will result to the movant before the adverse party can be heard in

opposition; and (B) the movant's attorney certifies in writing any efforts made to

give notice and the reasons why it should not be required.” Fed.R.Civ.P. 65.




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        In this case, Plaintiffs seek “any and all relief available, alternatively, under

the Securities Act of 1933, 15 U.S.C. §77a et seq., the Securities Exchange Act of

1934, 15 U.S.C. §78a et seq., . . . Money Laundering Act, 18 U.S.C. §1956 et seq.,

and the other causes of action stated herein so as to provide justice to the

Plaintiffs.” (Second Amended Complaint, pp. 57-58.) Plaintiffs seek to freeze all

personal and business assets of the named Defendants and freeze all business

activities of the named Defendants, including without limitation all activities relating

to the “Sands of Gold Estates” project in Playa Ventura, Mexico for a short period to

determine if preliminary and permanent injunctions should issue and/or a Receiver

should be appointed for the assets of the named Defendants. Essentially, Plaintiffs

seek to freeze the only assets of Defendants that would satisfy a judgment in this

case.

        Both securities laws and the Money Laundering Act provide statutory basis

for equitable relief. The Securities Act of 1933 allows the purchaser of a security

from a seller that has sold or provided a prospectus in violation of the Act to “sue

either at law or in equity in any court of competent jurisdiction, to recover the

consideration paid for such security with interest thereon, less the amount of any

income received thereon, upon the tender of such security, or for damages if he no

longer owns the security.” 15 U.S.C. §77l(a). Under the Securities Exchange Act of

1934, similar relief is provided. 15 U.S.C. §78r(a).

        The Money Laundering Act provides that if a person or persons are using

banks to transfer money with the intent of disguising an illegal act or concealing the

money from other parties that have a legitimate right to the money, then “A court

may issue a pretrial restraining order or take any other action necessary to ensure

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that any bank account or other property held by the defendant in the United States

is available to satisfy a judgment under this section.” 18 U.S.C. §1956(b)(3). The

statute also empowers a Court to appoint a Receiver for any assets if appropriate.

18 U.S.C. §1956(b)(4).

      Several federal appeals courts have held that freezing a defendant’s assets

via a preliminary injunction is proper in a securities fraud case. See e.g. Wade v.

Industrial Funding Corp., 29 F.3d 637 (9th Cir. 1994) (held, district court’s ruling

that a preliminary injunction may not issue to freeze defendant’s assets in

securities fraud case reversed and remanded for hearings in line with ruling in In re

Estate of Ferdinand Marcos Human Rights Litig., 25 F.3d 1467 (9th Cir.1994) (“We

join the majority of circuits in concluding that a district court has authority to issue

a preliminary injunction where the plaintiffs can establish that money damages will

be an inadequate remedy due to impending insolvency of the defendant or that

defendant has engaged in a pattern of secreting or dissipating assets to avoid

judgment.”)); and MAI Basic Four, Inc. v. Prime Computer, Inc., 871 F.2d 212 (1st

Cir. 1988); Hoxworth v. Blinder, Robinson & Co., Inc., 903 F.2d 186 (3rd Cir. 1990)

(holding that while the imposed injunction was fatally overbroad, more reasonably

tailored injunction could be imposed by trial court).

Preliminary Relief Standard

      Judge Posner, writing for the Seventh Circuit in Roland Machinery Co. v.

Dresser Industries, Inc., 749 F.2d 380 (1984), stated the test for a preliminary

injunction: “Many of our cases say that to get a preliminary injunction a plaintiff

must show each of four things: that he has no adequate remedy at law or will suffer

irreparable harm if the injunction is denied; that this harm will be greater than the

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harm the defendant will suffer if the injunction is granted; that the plaintiff has a

reasonable likelihood of success on the merits; and that the injunction will not harm

the public interest.” Roland Machinery Co., supra, 749 F.2d at 382-83 [citations

omitted]. It is clear that the power to grant preliminary relief is within the

discretion of the trial court. Id. at 384.

       1. Inadequate Remedy at Law

       “The absence of an adequate remedy at law is a precondition to any form of

equitable relief. The requirement of irreparable harm is needed to take care of the

case where although the ultimate relief that the plaintiff is seeking is equitable,

implying that he has no adequate remedy at law, he can easily wait till the end of

trial to get that relief.” Id. at 386.

       Plaintiffs have no adequate remedy at law herein because it is clear that

Defendants do not have sufficient assets to repay all of the investors. Indeed, it is

questionable whether there are sufficient assets to even pay a small percentage of

the damages at bar. What is evident is that if Defendants’ assets and activities are

not frozen, any remaining assets will either be dissipated by such activities or

Defendants will wire transfer any remaining assets to Mexico where finding such

assets may be impossible. Defendants have already shown a remarkable ability to

shuffle assets to their bank accounts in Mexico. (See Statement of Facts.) Thus,

irreparable harm to Plaintiffs will have certainly occurred and is not a remedy that

can wait until the end of trial. If victorious at trial, Plaintiffs would have, at best, an

uncollectible judgment. When such can be prevented by freezing assets, it seems

the most logical and least harmful way to proceed.




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      As stated previously, freezing assets has been supported by other federal

appellate jurisdictions as a valid preliminary remedy to prevent against irreparable

harm. (See supra.) “In saying that the plaintiff must show that an award of

damages at the end of trial will be inadequate, we do not mean wholly ineffectual;

we mean seriously deficient as a remedy for the harm suffered.” Roland Machinery

Co., supra, 749 F.2d at 386. Plaintiffs’ Second Amended Complaint alleges that

over $8 million was invested in Sanchez’s operations. (Second Amended

Complaint, ¶9 et al.) Even assuming that Defendants had $100,000 of collectible

assets here in the United States, that would be seriously deficient as a remedy for

the harm suffered. The property in Mexico is apparently only worth approximately

$21,000 at current exchange rates. (See Statement of Facts, ¶54.)

      “In deciding whether to grant a preliminary injunction, the court must also

consider any irreparable harm that the defendant might suffer from the injunction--

harm that would not be either cured by the defendant's ultimately prevailing in the

trial on the merits or fully compensated by the injunction bond.” Roland Machinery

Co., supra, 749 F.2d at 387. Defendants herein would suffer no harm by an

injunction freezing their personal and business assets and halting their activities

related to Sands of Gold Estates. Despite numerous representations that funding

for the project is proverbially around the corner (see Statement of Facts, ¶44 and

Exhibit AA), no funding has come and it does not appear likely in the future. In

addition, Sanchez’s main partner in this matter filed for bankruptcy and is no longer

active in the business. (See Notice of Bankruptcy, Document #50.) “If the

defendant will not be irreversibly injured by the injunction because a final




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judgment in his favor would make him whole, the injunction will not really harm

him.” Roland Machinery Co., supra, 749 F.2d at 387.

      2. Likelihood of Succeeding on the Merits

      Judge Posner opines: “Equity jurisdiction exists only to remedy legal wrongs;

without some showing of a probable right there is no basis for invoking it.” Id.

Posner agrees that “the threshold is low” for showing a likelihood of plaintiff

succeeding on the merits and cites Omega Satellite Products Co. v. City of

Indianapolis, 694 F.2d 119 (7th Cir. 1982) for the proposition that “it is enough that

the plaintiff's chances are better than negligible.” Roland Machinery Co., supra,

749 F.2d at 387.

      In the case at bar, most of the work has already been accomplished by the

Illinois Securities Department and the Pennsylvania Securities Commission. Both

entities have found that Defendants had violated state securities laws by failing to

register the investment securities and for illegally selling those securities. (Second

Amended Complaint, ¶¶132 and 138 and exhibits thereto.) Those findings included

that Defendants’ offered investments were “securities” as defined by the statutes

and that Defendants had not complied with the requirements for registering, issuing

prospecti and selling such securities.   (Second Amended Complaint, ¶¶132 and 138

and exhibits thereto.)

      In addition, the Statement of Facts accompanying this motion bear out that

Defendants spent a good amount of time wire transferring money among U.S. bank

accounts and to Mexican banks and other locations so as to try to conceal the

money. (Statement of Facts, ¶¶48-53.) This is money that “represents the

proceeds of some form of unlawful activity,” 18 U.S.C. §1956(a)(1), namely the

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illegal sale of securities, and that the wire transfers were made “to conceal or

disguise the nature, the location, the source, the ownership, or the control of the

proceeds of specified unlawful activity.” 18 U.S.C. §1956(a)(1)(B)(i).

      Plaintiffs are also fearful that Defendants, particularly Sanchez, believes he is

personally entitled to this money. He even issued a memo titled “Executive

Compensation Report” as an attempt to justify that he and Bourassa should have

received over $5 million in compensation as executives of IFC Ventures for the

years 2005-2007. (Statement of Facts, ¶46 and exhibit thereto.)

      “The idea underlying these equivalent approaches is that the task for the

district judge in deciding whether to grant or deny a motion for preliminary

injunction is to minimize errors: the error of denying an injunction to one who will

in fact (though no one can know this for sure) go on to win the case on the merits,

and the error of granting an injunction to one who will go on to lose. The judge

must try to avoid the error that is more costly in the circumstances.” Roland

Machinery Co., supra, 749 F.2d at 388.

      3. Injunction will not Harm the Public Interest

      Posner again: “Sometimes an order granting or denying a preliminary

injunction will have consequences beyond the immediate parties. If so, those

interests--the "public interest" if you will--must be reckoned into the weighing

process just described.” Roland Machinery Co., supra, 749 F.2d at 388. This issue

is committed to the trial court’s discretion. Id.

      There really is no potential harm to the public interest by imposing an

injunction as proposed in the case at bar. The purported businesses of Sanchez

and the investments by Plaintiffs therein is a strictly and wholly private enterprise.

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If anything, there is potential harm to the public interest by not imposing an

injunction because clearly Sanchez is not going to stop trying to promote Sands of

Gold Estates unless the funds to do so are frozen. (See Certification of Robert C.

Thurston, Document #34-2.) Despite the cease and desist orders by the States of

Illinois and Pennsylvania in 2007 and 2005 respectively (Second Amended

Complaint, ¶¶132 and 138 and exhibits thereto), Sanchez still solicited and sold

securities in his companies after those dates. (See e.g. Statement of Facts, ¶40.)

Conclusion

      Plaintiffs’ motion for preliminary relief meets the legal standard and tests

under the Federal Rules of Civil Procedure and the 7th Circuit cases that deal with

injunctive relief. Plaintiffs have also established sufficient evidentiary proof to at

least meet the temporary restraining order stage to freeze the assets and activities

as requested and such injunction neither harms Defendants nor the public interest.

                                         Respectfully submitted,
                                         PLAINTIFFS’ CLASS

                                         By:__/s/ Robert C. Thurston____
                                               One of Their Attorneys

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